                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ALABAMA
                                         SOUTHERN DIVISION

IN RE:

         DEJUANA R. JENKINS                                           CASE # 16-02171-TOM13

         Debtor.

                             TRUSTEE’S NOTICE OF CONTINUING DEFAULT

         COMES NOW Bradford W. Caraway, Chapter 13 Standing Trustee, and hereby gives notice that the

Debtor has failed to continue making timely payments as ordered by this Honorable Court.

Accordingly, the Trustee moves the Court to dismiss this case without further notice or hearing.




                                                         /s/ Bradford W. Caraway
                                                        Bradford W. Caraway
                                                        Chapter 13 Standing Trustee
                                                        P.O. Box 10848
                                                        Birmingham, AL 35202-0848
                                                        (205) 323-4631

                                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing Notice has been forwarded by
email or U.S. Mail, postage prepaid and properly addressed, to the following on this 13th day of February, 2019:

DEJUANA R. JENKINS
320 BURTON DRIVE
***MR***
BIRMINGHAM, AL 35206

C TAYLOR CROCKETT, ATTY
taylor@taylorcrockett.com


                                                         /s/ Bradford W. Caraway
                                                        TRUSTEE




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                                                              Bradford W. Caraway
                                                      INTERIM STATEMENT AS OF 02/14/2019
 CASE NO: 16-02171-TOM13
STATUS:
  COMP - 60.00%                        DEBTOR: XXX-XX-9243
                                       JENKINS, DEJUANA R.                                                        SCHEDULE:              239.00 BIWEEKLY
                                AKA:                                                                             TOTAL PAID:                     10,947.80
        DATE FILED: 05/27/2016         320 BURTON DRIVE                                                                     LAST 12 TRANSACTIONS
                                       ***MR***                                                                 Date        Source        Amount
       CONFIRMED: 07/20/2016
                                       BIRMINGHAM, AL 35206                                                 11/13/18     Cash                      240.00
         MODIFIED:                                                                                          05/01/18     NEW BEACON HEALT          225.00
         BAR DATE: 09/20/2016            Non-Government                                                     04/19/18     NEW BEACON HEALT          225.00
                                                                                                            04/03/18     NEW BEACON HEALT           45.25
                     11/23/2016          Government                                                         03/20/18     NEW BEACON HEALT           87.55
                                                                                                            03/13/18     NEW BEACON HEALT          225.00
      PERCENTAGE:      60.000             EMPLOYER: SOUTHERN CARE HOSPICE                D.O. 02/13/2019    03/01/18     NEW BEACON HEALT          225.00
                                                                                                            02/09/18     NEW BEACON HEALT          225.00
        PLAN: 60 MONTHS
                                                                                                            01/25/18     NEW BEACON HEALT          225.00
MONTHS ON SCHEDULE: (27 LEFT)                                                                               01/10/18     NEW BEACON HEALT          225.00
      MONTHS TO PAYOFF: (31 LEFT)            ATTORNEY: C TAYLOR CROCKETT, ATTY                              01/04/18     NEW BEACON HEALT          225.00
                                                                                                            12/19/17     NEW BEACON HEALT          225.00



DIRECT PAY AND NOT FILED CLAIMS

CLAIM      CRED                  CREDITOR                 DISB    CLASS     ARREARS      FIXED        SCHED         PAID BY        BALANCE         CLAIM
             NO                     NAME                  CODE                          PAYMENT      AMOUNT        TRUSTEE           DUE          STATUS
          287465   CASH ADVANCE CORP                      PRO      UNS           0.00        0.00        587.50        0.00          0.00        NOT FILED
          314966   EASY MONEY                             PRO      UNS           0.00        0.00        200.00        0.00          0.00        NOT FILED
          62521    J I L EAST BEND APTS                   PRO      UNS           0.00        0.00      4,070.00        0.00          0.00        NOT FILED
          287411   ORTHOSPORTS ASSOCIATES                 PRO      UNS           0.00        0.00        733.00        0.00          0.00        NOT FILED
          312429   AMERIFINANCIAL SOLUTIO                 PRO      UNS           0.00        0.00        846.00        0.00          0.00        NOT FILED
          287411   PREMIER MEDICAL - ST VINCENTS          PRO      UNS           0.00        0.00        704.00        0.00          0.00        NOT FILED
          300120   SHOALS AMBULANCE SERVICES              PRO      UNS           0.00        0.00        496.00        0.00          0.00        NOT FILED
          310496   SPRINT                                 PRO      UNS           0.00        0.00      1,314.00        0.00          0.00        NOT FILED
          287411   ST. VINCENT'S EAST                     PRO      UNS           0.00        0.00        352.00        0.00          0.00        NOT FILED
          238265   ADVANCE AMERICA                        PRO      UNS           0.00        0.00        587.50        0.00          0.00        NOT FILED




PLAN AND FILED CLAIMS
CLAIM NO CRED      CREDITOR NAME                          DISB   CLASS LAST DISB        FIX PAY ORG. CLAIM        APPROVED         PRIN. PAID     PRIN. DUE
          NO       CLAIM REMARK                           CODE   PAY% INT. RATE         ARREARS INT. BEGIN        TO BE PAID        INT. PAID      INT. DUE
001       284662   CREDIT ACCEPTANCE CORPORATION          FIX      SEC      06/2018        305.00   14,559.37          14,559.37      4,949.50      9,609.87
                   2011 TOYOTA CAMRY                             100.0000 5.0000         2,279.93 05/27/2016           14,559.37      1,575.57        135.74
002       304410   AFFINITY HOSPITAL                      PRO      SEC      04/2018         0.00       888.82            888.82        327.72         561.10
                                                                 100.0000                   0.00                         888.82          0.00           0.00
003       271916   EMERGENCY PHYSICIANS ASSOCIATES PRO             UNS                      0.00       668.00            668.00           0.00        400.80
                                                                  60.0000                   0.00                         400.80           0.00          0.00
004       270551   STATE OF ALABAMA DEPT OF REVENUE PRO            PRI      04/2018         0.00       588.54            588.54        217.01         371.53
                                                                 100.0000                   0.00                         588.54          0.00           0.00
004       270551   STATE OF ALABAMA DEPT OF REVENUE PRO            UNS                      0.00        26.90             26.90           0.00         16.14
                   Split Claim                                    60.0000                   0.00                          16.14           0.00          0.00
005       270551   STATE OF ALABAMA DEPT OF REVENUE PRO            UNS                      0.00        24.50             24.50           0.00         14.70
                                                                  60.0000                   0.00                          14.70           0.00          0.00
005       270551   STATE OF ALABAMA DEPT OF REVENUE PRO            PRI      04/2018         0.00       521.34            521.34        192.21         329.13
                   Split Claim                                   100.0000                   0.00                         521.34          0.00           0.00
006       270551   STATE OF ALABAMA DEPT OF REVENUE PRO            UNS                      0.00        17.19             17.19           0.00         10.31
                   Split Claim                                    60.0000                   0.00                          10.31           0.00          0.00
006       270551   STATE OF ALABAMA DEPT OF REVENUE PRO            PRI      04/2018         0.00       354.64            354.64        130.78         223.86
                                                                 100.0000                   0.00                         354.64          0.00           0.00
007       289904   ASHLEY FUNDING SERVICES LLC            PRO      UNS                      0.00     1,476.00           1,476.00          0.00        885.60
                                                                  60.0000                   0.00                          885.60          0.00          0.00
008       314666   BELLSOUTH TELECOMMUNICATIONS           PRO      UNS                      0.00       927.43            927.43           0.00        556.46
                                                                  60.0000                   0.00                         556.46           0.00          0.00
009       301652   ATT MOBILITY II LLC                    PRO      UNS                      0.00     1,427.73           1,427.73          0.00        856.64
                                                                  60.0000                   0.00                          856.64          0.00          0.00
010       289904   LABORATORY CORP OF AMERICA             PRO      UNS                      0.00        85.79             85.79           0.00         51.47
                                                                  60.0000                   0.00                          51.47           0.00          0.00
011       270551   STATE OF ALABAMA DEPT OF REVENUE PRO            UNS                      0.00       227.01            227.01           0.00        136.21
                                                                  60.0000                   0.00                         136.21           0.00          0.00

                                                                                                                        RptDvr 10.5
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                                        JENKINS, DEJUANA R.                                                                       SCHEDULE:           239.00 BIWEEKLY
PLAN AND FILED CLAIMS
CLAIM NO CRED       CREDITOR NAME                            DISB         CLASS LAST DISB           FIX PAY ORG. CLAIM            APPROVED      PRIN. PAID    PRIN. DUE
          NO        CLAIM REMARK                             CODE         PAY% INT. RATE            ARREARS INT. BEGIN            TO BE PAID     INT. PAID     INT. DUE
777        000000   DEBTOR                                   PRO-I          REF                          0.00      Continuing      Continuing          0.00      Closed
                                                                          100.0000                       0.00                      Continuing
994        20440    COURT COST                               FIX            SPC        09/2016          77.50                         310.00        310.00          0.00
                                                                          100.0000                       0.00                         310.00          0.00          0.00
997A       20771    C TAYLOR CROCKETT, ATTY                  FIX            ATY        10/2016         650.00       2,850.00          650.00        650.00          0.00
                    Attorney of Record                                    100.0000                       0.00                         650.00          0.00          0.00
997B       20771    C TAYLOR CROCKETT, ATTY                  FIX            ATY        11/2017         115.00                        1,900.00      1,900.00         0.00
                    2nd Atty Claim                                        100.0000                       0.00                        1,900.00          0.00         0.00

                    Trustee Administrative Fees                                                                                        695.01        695.01
                                                                          TOTALS:                     1,147.50       24,643.26      25,348.27      9,372.23    14,023.82
                                                                                                      2,279.93                      23,396.05      1,575.57       135.74


                             ADMIN        ATTORNEY          PRIORITY           SECURED           UNSECURED           OTHER
      CLAIM AMOUNT:           310.00          2,550.00       1,464.52          15,448.19            2,928.33               0.00
 PAID BY TRUSTEE:             310.00          2,550.00         540.00           5,277.22                0.00               0.00
 PAID BY 3rd PARTY:              0.00             0.00             0.00                0.00             0.00               0.00

          SUB TOTAL:             0.00             0.00         924.52          10,170.97            2,928.33               0.00        DUE CREDITORS:          14,159.56
       INTEREST DUE:             0.00             0.00             0.00              135.74             0.00               0.00       EXPECTED ADMIN:            969.94

        CONTINUING:              0.00             0.00             0.00                0.00            0.00                0.00         LESS AVAILABLE:             0.00

       BALANCE DUE:              0.00             0.00         924.52          10,306.71            2,928.33               0.00       APPROX BALANCE:          15,129.50

      PREVIOUS CASES:
                                                                       TRUSTEE'S SCHEDULE:                     12,779.12        1st PAYMENT DUE: 06/26/2016
                                                                            ACTUAL PAYMENTS:                   10,947.80
                                                                               AMOUNT BEHIND:                   1,831.32
  Schedule Required to Pay Out Case in 60 Months: 270.41 BIWEEKLY (for 27 Months)




                                                                                                                                     RptDvr 10.5
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